Opinion issued August 15, 2024




                                      In The

                              Court of Appeals
                                     For The

                          First District of Texas
                            ————————————
                              NO. 01-24-00171-CV
                           ———————————
      IN RE DLA PIPER LLP (US), TEXAS EAR, NOSE &amp; THROAT
    SPECIALISTS, PLLC, TEXAS ENT HOLDCO, LLC, AND J. CARY
                    MOORHEAD, M.D., Relators



            Original Proceeding on Petition for Writ of Mandamus


                         MEMORANDUM OPINION

      Relators DLA Piper LLP (US), Texas Ear, Nose &amp; Throat Specialists, PLLC,

Texas ENT Holdco, LLC, and J. Cary Moorhead, M.D. have filed a petition for writ

of mandamus requesting this Court to vacate an order granting a motion to compel.1



1
      The underlying case is Texas ENT Holdco, LLC v. Mary ES Anderson, M.D., FACS,
      cause number 2021-70713, pending in the 189th District Court of Harris County,
      Texas, the Honorable Tamika Craft presiding.
      We deny the petition for writ of mandamus. See TEX. R. APP. P. 52.8(a). We

dismiss any pending motions as moot. We withdraw our stay order that issued

March 1, 2024.

                                PER CURIAM
Panel consists of Chief Justice Adams and Justices Kelly and Goodman.




                                       2
